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                      IN THE UNITED STATES BANKRUPTCYOURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


IN RE: JAMES EDWARD TOMASSINI and                                  CASE NO. 4:18-bk-12259 T
       MICHELLE SUSANNE TOMASSINI
        Debtors                                                    CHAPTER 7


                           TRUSTEE’S MOTION TO DISMISS
                      FOR FAILURE TO ATTEND 341(a) MEETINGS

        Comes the Trustee, Frederick S. Wetzel, III, and for his Motion to Dismiss for

 Failure to Attend 341(a) Meetings, respectfully states and alleges:

        1.      This case was commenced by the filing of a voluntary Chapter 7 petition on April

 23, 2018.

        2.      Frederick S. Wetzel, III is the duly appointed and acting trustee in the

 captioned case, having been appointed the same day.

       3.       The D ebtor and Joint Debtor were directed to appear at the 341(a) meetings

set for the dates on June 5, 2018 (Doc# 2), July 3, 2018 (Doc# 20), July 18, 2018 (Doc# 24) and

August 16, 2018 (Doc# 28).

       4.       The Debtor failed to appear at the meetings.

       5.       That pursuant to 11 U.S.C. § 707(a) and Bankruptcy Rules of Procedure 1017(a),

 2002(a), this case for the Debtor should be dismissed.

        WHEREFORE, the Trustee prays that this case for the Debtor be dismissed for

 failure to attend the continued 341(a) meetings and comply with all the requirements; and for

 all other just and proper relief.

        DATED: August 27, 2018
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                                               Respectfully submitted,

                                        By:    /s/ Frederick S. Wetzel, III
                                               FREDERICK S. WETZEL, III, Trustee
                                               Arkansas Bar No. 80159
                                               200 N. State Street, Suite 200
                                               Little Rock, AR 72201-1399
                                               (501) 663-0535 Fax (501) 372-1550




                                 CERTIFICATE OF SERVICE
        I certify that I have mailed a copy of the foregoing pleading to the following attorneys and
parties of interest by ordinary mail with sufficient postage thereon or by electronic mail on this 27th
day of August 2018:


James Edward Tomassini, Debtor
Michelle Susanne Tomassini, Joint Debtor
PRO SE
2109 Cliffwood Road
Little Rock, AR 72206

United States Trustee
200 W. Capitol Avenue, Suite 1200
Little Rock, AR 72201


                                               /s/ Frederick S. Wetzel, III
                                               Frederick S. Wetzel, III, Trustee




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